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care tase 8:90-cr-00 34- Lo isda whedon Phgettsey sda
coum 1. PROCEEDINGS DOCKET FOR SINGLE’ DEFENDANT . Sete me Be air
= in bracket
1990 {OPTIONAL Show last names of defendants Nv, PROCEEDINGS / . A Exam
Feb 15 INDICTMENT. (Sealed) gs iin tar
Feb 16 Issued WARRANT FOR ARREST. gs
Nov 15 SUPERSEDING INDICTMENT (Supersedes Indictment filed on
February 15, 1990) gs 8 NARA
USC 2m
C Staw/t
Nov 19 Issued WARRANT FOR ARREST. gs fone
Dec ll GOVERNMENT'S MOTION TO DISMISS ns _Go “pet
Dec ll ORDER...that the original indictment filed on February | tenth é }t Sie
15, 1990 is hereby DISMISSED pursuant to the superseding| - (¢ -T6 vere
indictment filed on November 15, 1990. eat
Dist 12/14 - dkt 12/14/90 gs Sout
Ruse 62:
Dec 12 MOTION TO UNSEAL (Govt. ) gs f
. . ook ae (g-(2-78
ORDER...that this iridictment is unsealed as to this 12-12-90 | & ‘
defendant.
: G Proces
Dist 12/13 - dkt 12/14/90. AJF/g§ as
oy wee
Dec 24 ENTRY OF APPEARANCE OF COUNSEL (Melvyn Bruder, retained eon
ensl for deft) ns —
(cys: judge, ausa, pt, pb, marie 1/7/91) ne
dition i
BDeterral
Dec 26 RETURN ON WARRANT ~ date of arrest 12/20/90, by agents yoo it
of FBI. ns STrarapo
or howpit
in 10 day
tone
7 Consider
Court of
ee pENOCHOO : v AXXX owe
docketed in error ‘ome
2b - M Unavail
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Dec 26 DOCUMENTS SEALED (Motion and order) ns pee E | sen |
Dec 28 Recd. Magistrate Papers from District of Kansas (see below)* eal wet
1991 wnat tea
ment
Jan 10 AMENDED ORDER SETTING CONDITIONS OF RELEASE...Bond set PSupersed
at $75,000.00 cash or surety. Deft remanded to USM. WFS/n¢ cree |
cys: ausa, cnsl, pt, usm, marie Trial 3/4/91, 9 a.m. before Judg¢ Fish
* Dec 28 Received Magistrate papers from District of Kansas
consisting of:
1. Commitment to another district. “soon
2. Waiver of Rule 40 hearings been gras
T tine
3. Minute sheets dated 12-12-90 and 12-13-90. vom
4. Order setting conditions of release. tnenone
Dist. to PT, PB, AUSA. gs | rua)
wance Hi
*Jan 9 MOTION TO ESTABLISH CONDITIONS OF RELEASE. (Deft) gs 7 ratun
.
Jan 10 PRETRIAL ORDER...setting deadlines for filing of pretrial ee
material; setting case for trial on Court's four-week 72 Come
docket beginning Mar 4, 1991; a final pretrial conference /
is set for Fri, Mar 1, 1991 at 3:00 p.m.; SANCTIONS will
be imposed if these pretrial requirements are not met.
dkt'd 1-11-91 cys to Judge, AUSA, PT, PB, USM, Marie & 73 tects
deft's cnsl ASF/bs nen
to-obtain
SEE =
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‘ Case 3:90-cr-00034-G Document 26-2 Filed 02/14/90 Page 2of13 PagelD 14

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET ) S. vs WILLIAM ALLEN HOFFMAN a/k/a

Bill Hoffman
AO 256A ®

Page .

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\ Yr.

CR3-90-034-G(09)

| Docket No.

|Def.

 

DATE PROCEEDINGS (continued)

rt

{a}

(b)

(c)

V. EXCLUDABLE DELAY
(d)

 

(Document No.)

 

1991

Jan 8 - ARRAIGNMENT - dft with cnls Bruder.

M.E.
Waived reading of indict., TD:

dft in custody.

Jan 11 MOTION TO AMEND CONDITIONS OF RELEASE. (dft)

Jan 15 ORDER OF REFERENCE...defts'

conditions of release filed Jan 9,

Dkt'd 1-15-91
& deft's cnsl

cys to Judge,

Jan 16 ORDER AMENDING CONDITIONS OF RELEASE...It

be amended as follows:

(7) (1) imposed by U.S. Mag. that Hoffman

following conditions of release are added:

$50,000," &

10% ($5,000.00).
cys: judge, mag, ausa, cnsl, pt, pb, usm,
dktd 1/17/91
ORDER
trial is granted the trial is set for 9-3-91.
dktd 1-17-91
cy Judge, ausa, pt, pb, usm, atty and Marie

JAN 15

AMENDED PRETRIAL ORDER

govt.

the exculpatory evidence is possesses. by 8-10-91

3p.m.; SANCTIONS WILL BE IMPOSED IF THESE PRETRIAL
MENTS ARE NOT MET.. dktd 1-17-91
cy Judge, AUSA, PT, PB, USM, Atty and Marie

t

 

 

Pled NG
3-4-91 PTO to issue.

motion to establish
1991 is hereby
referred to U.S. Magistrate Judge Jane E. Jackson
for a hearing, if necessary, and for determination.
AUSA, PB, PT, USM,
AJF/bs

ORDERED that Amended Order Setting Conditions
of Release entered by U.S. Magistrate 1/10/91
condition of release

"execute a bail bond w/solvent sureties in
the amount of $75,000" is hereby deléeéa,s&

"(7)(3) execute a bond or agreement to forfeit
upon failing to appear as required, the fol-
lowing sum of money or designated property:
""€7)(k) post with the court the
following indicia of ownership of the above-
described property, or the following amount

or percentage of the above-described money:
AJF/ns

the govt motion requesting a continuance. of t

the court's 1-10-91 pretria
order is vacated. This case is set for trial on 9-3-91;
8-2-91 the govt shall provide full discovery to each def
by 8-2-91 each deft shall provide full discovery to the
by 8-2-91 the govt shall provide each with all of

pretrial motions shall be filed. by 8-17-91 the govt's

response to the pretrial motions shall be filed and any
reply by deft by 8-23-91; by 8-23-91 all pretrial motion
shall be filed; a final pretrial conf is set for 8-

SEE NEXT PAGE

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AJF/vp

 

 

Interval

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(per Section ||)

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Case 3:90-cr-00034-G Document 26-2 Filed 02/14/90 Page 3of13 PagelD 15
UNITED STATES DISTRICT COURT

CRIMINAL DOCKET
AO 256A

WILLIAM ALLEN HOFFMAN Page 4

 

(— DATE

1991

 

Jan 14
Jan 22

JUL 10

JUL 15

JUL 26

JUL 31

AUG 1

AUG 5

AUG 5

 

 

{Document No.)

PROCEEDINGS (continued)

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t

CR3-90-034-G

(b}

V. EXCLUDABLE DELAY
(c) fd)

 

MOTION TO AMEND CONDITIONS OF RELEASE. (Dft) gs

AMENDED ORDER SETTING CONDITIONS OF RELEASE - Execute
bond of $50,000.00 with 103 deposit of $5, 000.00.

Report to Pretrial Services Agency. . JEJ /bw
cys: pretrial, marie , , ,

APPEARANCE BOND...in the amt. of $5,000.00 (10%). JEJ/bw
cys: financial, ausa, marie

- SUPERSEDING INDICTMENT (Supersedes. superseding
indictment of 11-15-90). g

MOTION TO UNSEAL (Govt). : g

ORDER TO UNSEAL...that the superseding indictment
filed 7-10-91 is unsealed as to the named defts

only. ,

Copy to Judge, AUSA, PT, PB, USM, cnsl, Marie.
(dktd 7-19-91). . AJF

AGREED MOTION FOR CONTINUANCE PURSUANT TO TITLE
18, ,
UNITED STATES CODE, SECTION 3161(h)(8)(B) (ii)
(Govt). gj

ORDER...that this case is continued and is hereby
rescheduled and set for trial on 1-6-92 at 9 am.
Copy to Judge, AUSA, PT, PB, USM, cnsl, Marie. |
(dktd 8-1-91). AJF/gqj

SECOND AMENDED PRETRIAL ORDER...that the court's 1-16-91
amended PT order is VACATED...case is reset on 4-wk
dkt beg. 1-6-92...by 12-6-91 all parties shall provide

full discovery, the govt shall provide deft w/exculpatorl

evidence, govt shall provide Jencks Act material...

by 12-13-91 all PT mtns shall be filed...by 12-20-91
govt's response to Pf mtns shall be filed...by 12-27-91
reply by defts shall be filed...by 12-27-91 all PT
materials shall be filed...final PT conf set for

1-3-92 at 3 pm (See order for specifics).

Copy to Judge, AUSA, PT, PB, USM, cnsl, Marie.

(Dkt. 8-2-91). AJF/qj

AMENDED AGREED MOTION FOR CONT INUANCE PURSUANT TO
TITLE 18, UNITED STATES CODE, SECTION 3161(h)(8)(B) (ii)
(Govt). oe gj

AMENDED ORDER...that- this case is continued and is
rescheduled and set for trial on 1-6-92 at 9 am.
Copy to Judge ,. AUSA,, PT, PB; USM, cnsl, Marie. -

a3

 

(dktd 8- 7-91): AJF/gj

 

interval
(per Section 41)

 

 

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Start Date

End Date

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Case 3:90-cr-00034-G Document 26-2 Filed 02/14/90 Page 4of13 PagelD 16
‘ —_- UNITED STATES DISTRICT COURT

 

 

 

 

 
   

 

 

 

 

 

_ CRIMINAL DOCKET U.S. vs WILLIAM ALLEN HOFFMAN a/k/a BR CR3-90-034-6(09)
Bill Hoffman Page 5
AO 256A ® \ Yr. | Docket No. | Def,
(vate PROCEEDINGS (continued) V. EXCLUDABLE DELAY
(a) (b) (c) (d)
(Document No.)
DEC 2 ORDER...a pretrial conference is scheduled for Thursday,
December 12, 1991 at 10am. Copy to Judge, AUSA, PT, PB,
USM, cnsl, Marie. (dktd 12/3/91). AJF/jb
1992 : 4h |7 | 4
Jan 21 M.E. REARRAIGNMENT - Pied guilty to Ct. 1 PA & FR filed |. yaa®
Sentencing to be set at a later date. gs
PLEA AGREEMENT . gs
FACTUAL RESUME. gs
FEB 25 SCHEDULING ORDER FOR SENTENCING UNDER LOCAL RULE 10.9
(GUIDELINES SENTENCING)... PSI by 3-24-92; written obj to
PSI by 4-7-92; addendum by noon 4-14-92; written Obj to
addendum by 4-21-92 & Sentencing set for 4-28-92 @ 1:45
cpy Judge ,AUSA,PT,PB,USM,Cnsl,Ester/dkt 2-26-92 AJF:svc
MAR 2 ORDER...Order of 2-25-92 is ‘vacated.
cpy Judge ,AUSA,PT,PB,USM,Cns1,Ester/dkt 3-6-92 AJF: svc
*Jan 21 PLEA AGREEMENT dh
FACTUAL RESUME dh
Mar 10 JOINT REPRESENTATION WAIVER (by deft.) dh
Dec 11 AMENDED SCHEDULING ORDER FOR SENTENCING UNDER LOCAL RULE 1019
(GUIDELINE SENTENCING)...PSI by 12-15-92; obj to PSI by
12-29-92; Addendum to PSI by 1-5-93; obj to addendum
by 1-12-93; sentencing 2-2-93 @ 1:45
Cpy Judge ,AUSA,PT,PB,USM,Cnsl,Esther/dkt 12-14-92 AJF/mr
1993
x $
Jan 6 SECOND AMENDED SCHEDULING ORDER FOR SENTENCING UNDER 4
LOCAL RULE 10.9 (GUIDELINES SENTENCING)...Written f
objections to PSI Noon 1-12-93; addendum to PSI noon
1-19-93; objections to addendum 1-28-93; sentencing i
scheduled at 1:45 pm on 2-2-93; Dist 1-7-93 AJF/mr
* JAN 5 MOTION TO EXTEND TIME FOR FILING DEFENDANT'S
OBJECTIONS TO PRESENTENCE REPORT (Deft) cab
JAN 12 OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT (Deft) cab
Jan 12 GOVERNMENTS MOTION FOR DOWNWARD DEPARTURE IN THE
SENTENCING GUIDELINES PURSUANT TO SECTION 5K 1
AND TITLE 18, UNITED STATES CODE, SECTION 3553 (e) mr
eee NEXT PAG!
foe Interval Start Date Ltr, |Total
(per Section |t} End Date | Code Days

 

 

 
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Case 3:90-cr-00034-G Document 26-2 Filed 02/14/90 Page5of13 PagelD 17 i
UNITED STATES DISTRICT COURT °
CRIMINAL DOCKET William Allan Hoffman 3:90-cr-034 FAge
AO 256A

(— DATE PROCEEDINGS (continued) V. EXCLUDABLE DELAY
. {a} (bo) {c) ; (d)

 

 

(Document No.)

‘feb 2 M.E. Deft. sentenced. AJF/dh

 

JUDGMENT IN A CRIMINAL CASE ... deft. sent. on count 1]
of the 2nd superseding indictment filed 7/10/91 to .144
months ... surrender by 2 PM on 1/4/94 ... placed on
supervised release for 5 years ... with 4 special
conditions ... remaining counts are dismissed ... pay
$50 MSA. dkt'd 2/4/93 AJF/dh
copies to counsel ,pt.,prob.,marshal & EV

Feb 10 MOTION FOR RETURN OF BOND DEPOSIT cb

ORDER..... granting mtn for return of bond deposit.
Accordingly, Court orders the District Clerk. for the
ND/TX to remit to Melvyn Carson Brudér the $5,000
deposited as bail to secure the release. 56-2/11/93,
Dkt'd 2/11/93 AJF/cb

Feb 19 Refund of his cash deposit in the sum of $5,000 is
1995 approved. cb

DEC 22 MOTION UNDER 18:3582 for reduction of sentence based on
guideline amendment effective 11-1-95 concerning reduction
of upper limit of drug quantity table. - svc
1996

JAN 10 MOTION FOR REDUCTION OF SENTENCE IS DENIED AJFisye
dkt/dist 1-11-96

DEC 9 GOVT'S MOTION FOR REDUCTION OF SENTENCE FOR CHANGED
CIRCUMSTANCES, PURSUANT TO RULE 35 © svc

DEC 12 DFT'S RESPONSE TO GOVT'S MOTION FOR REDUCTION OF SENTENCE

1997 4
FEB 19 Order granting USA's mt for reduction of sentence. The court
\ effects a downward departure from ‘offense level of 33 to 27 and
reduces Hoffman's sentence to 84 months AJF/1m

Dec. 3 ORDER... re: petition for offender under supervision. .
, Court Orders that the conditions of supervised release
of dft be modified by the addition of conditiion;

dft shall particpate in a drug treatment program
approved by the US Probation Office for treatment of
nMarcotics or drug or alcohol dependancy which will
include testing for the detection of substance use

or abuse. (dck/dist. 12/4/97) AJF/krs

 

 

 

 

* ‘Interval Start Date [ Ltr. | Total
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Case 31SGRGT= Document 26-2 Filed02714790 Page 6 of 13 mRatielD 1
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oes ve t4 368 De f's @ U.S. MAG.
Felony CH District Off |Judge/Magistr. | oF FENSE ON INDEX cancel A2 CASE NO. >
f— U.S. TITLE/SECTION OFFENSES CHARGED ORIGINAL COUNTS
| 21:846 ; Conspiracy, pertaining to the possession with intent Pt
{ to distribute Cocaine, a Schedule II controlled subst. (3
Jf 1 Ct. 1 (8/86-11/89) tho
8) | SUPERSEDING INDICTMENT 11-15-90 : Lk
21:846 | Conspiracy to the possession with intent to distribute (1.
3| | i Cocaine, a Schedule IT controlled substance. Ct. 1 Lo
=| | __(8-30-86 thru 11-15-90) rth
, SUPERSEDING INDICTMENT 7-10-91 Lt
1; 21:846 Conspiracy, pertaining to the possession with intent Lt
i 1to distribute cocaine, a Schedule II controlled subst. LL
' Ct. 1: (8-30-86 thru 11-15-90). yd
\ ~ SUPERSEDING COUNTS ——_®
(__ INTERVAL YO END ONE AND/OA BEGIN TWO {OR RESTART PERIOD TO TRIAL) END mee Two
ud naictme 1st appears on pend- ismissal :
LJ arrest US tieartr 3 t_J 'St appears on pe Dismissal
< KEY DATE KEY DATE eet KEY DATE — 21" ing charge /R40 KEY DATE Pled After N.G
a Lj sumins LI trial on complaint _ en =~ byl Receive file R20/21 guilty js ~
2 L_y custody 12-12-90 | | tu intormation 7-LO=-9L 7 GX KSupsdgxtiindt_A inf L_ Nolo },_, After nolo
™ appears—on . 11-15-90 d)t_J Order New trial Trial (voir dire) began
=\__ EARLIEST OF J complaint APPLICABLE - Lt Felony-Wiwaiver @}L_sRemand f\L_JG/P Withdrawn APPLICABLE Tduy ON,
1st appears with or | ARRAIGNMENT 1st Trial Ended 2nd Trial Began * [JOISPOSITION DATE] SENTENCE DATE Tp | FINAL CHARGES DISMISSED 00 Gat
waives counsel RE- GQ Nolte on §.T. aren't
RIAL o- 4 '3 L_J Pros. (| rounds O wp. wor Xmoton
(on oh DATE INITIAL/NO. Ml. MAGISTRATE INITIAL/NO. | OUTCOME:
Warrant Issued INITIAL APPEARANCE DATE > [DISMISSED
Return PRELIMINARY Date HELD FOR GJ THER PRO-
mand EXAMINATION | Schedueg™ 89s Bott L__J} CEEDING IN THIS DISTRICT
semen se Removac™ Date Held » HELD FOR GJ OR OTHER PRO-
ed eee atentuaeenune| — HEARING L__] CEEDING tN DISTRICT BELOW
Arrest Warrant Issued O waIvepd O NOT WAIVED Tape Number
COMPLAINT P CO INTERVENING INDICTMENT
Date of Arrest OFFENSE {in Complaint)
XS
(show last names and suffix numbers of other defendants on same indictment/information: C (] [J e C] C]
RULE
See attached page for other defts. 7% nao ° in Our
ATTORNEYS
U. S. Attorney or Asst. BAIL @ RELEASE
. PRE- INDICTMENT
Mark D. McBride, AUSA.
Release Date | |
Defense: 1 0 CJA. 2 CO Ret. 3 O Waived. 40 Self. 5 0 Non/ Other. 60 po. 70 co L_} Denied _J Fugitive
LJ Pers. Rec.
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Date Bond Made \__J 3rd Prty
| L_J Other

IV. NAMES & ADDRESSES OF ATTORNEYS, SURETIES, ETC.

 

FINE AND RESTITUTION PAYMENTS

| Docket Entries Begin.On Reverse Side

 

DATE

RECEIPT NUMBER C.D. NUMBER DATE RECEIPT NUMBER C.D. NUMBER

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1990 {OPTIONAL} Show last names of defendants Nv. PROCEEDINGS
Feb 15 INDICTMENT. (Sealed) gs
Feb 16 Issued WARRANT FOR ARREST. gs
Nov 15 SUPERSEDING INDICTMENT (Supersedes Indictment filed on
February 15, 1990) gs
Nov 19. Issued WARRANT FOR ARREST. gs
Dec 11 GOVERNMENT'S MOTION TO DISMISS ns
Dec 11 ORDER...that the original indictment filed on February
15, 1990 is hereby DISMISSED pursuant to the superseding
indictment filed on November 15, 1990.
Dist 12/14 - dkt 12/14/90 gs
Dec 12 MOTION TO UNSEAL (Govt.) wo gs
ORDER...that this indictmént is unsealed as to this
defendant.
Dist 12/13 - dkt 12/14/90. AJF/gs
1991
JAN 15 ORDER..... -the govt motion requesting a continuance of the
trial is granted the trial is set for 9-3-91.
dktd 1-17-91
cy Judge, ausa, pt, pb, usm, atty and Marie AJF/vp
JUL 10 SUPERSEDING INDICTMENT (Supersedes superseding
indictment of 11-15-90). gj
JUL 12 Issued WARRANT FOR ARREST . gj
JUL 15 MOTION TO UNSEAL (Govt). gj
ORDER TC UNSEAL...that the superseding indictment
filed 7-10-91 is unsealed as to the named defts
only.
Copy to Judge, AUSA, PT, PB, USM, cnsl, Marie.
(dktd 7-19-91). AJF/gj
JUL 24 USM RETURN ON WARRANT FOR ARREST (Issued 11-19-90)...
returned unexecuted per superseding warrant signed
7-12-91. gj
1993 \
May 11 Placed on 3998 status per memo~from S$ Sharp cb
Aug 4 SEALED MOTION CB
SEALED ORDER cb

 

 

 

 

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FINE AND RESTITUTION PAYMENTS

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| } Docket Entries Begin On Reverse Side

 

  

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. f— U.S. TITLE/SECTION OFFENSES CHARGED ORIGINAL COUNTS ——
L212:846 _.. .Conspiracy,..pertaining to the possession with intent ‘
Le ee cette ~ '.to.distribute..cocaine,.a.Schedule_IIl.controlled_subst Loo
(8/86=11/89) oo
Bl i | Distribution of Cocaine, a Schedule II controlled subst. LL
c i {and Aiding and abetting. Ct.27(2-23-89) Ct. 41(3-11-89) , | __
5} Ct. 47(3-15-89) Ct. 67(4-19-89) CT. 130 (8-3-89) ct. 144 Li
=| 5 __ (8-24-89) 6. Lu
i. 21:843(b) | Use of telephone to facilitate the distribution of bb
i _ Cocaine, a Schedule II controlled subst. Ct. 12(9-27-88) 1 __
LL. LCcts.17,18 (1-10-89) Cct.19(2-20-89) Cr. 20(2-22-89) ct. Lo Lo
i .21,22,23,24,25,26,27,28, (2-23-89) Ct.29(2-26-89) Ct.30 1 _}
\ SUPERSEDING COUNTS —__*
INTERVAL ONE———~_ END ONE AND/OR BEGIN TWO (OR RESTART PERIOD TO TRIAL) END INTERVAL TWO
E . LJ arrest Xie Giunseaicd) KEY DATE a) in charge “RAO ism sal
é KEY DATE L_ytum’ns KEY DATE conaeeT Te WEGr. b)L_t Receive fle R20/21_ KEY DATE opt 7) After NG.
a L_y custody 12-12-90 || 1s intormation &} SdbSupsdg: peetindt Ain? 26-4! i_jNolo },_, Atter nolo
x | il- -15- -90 d)L_J Order New trial rial (voir dire}
=| EARLIEST OF complaint APPLICABLE LJ Felony Wivaiver e)t_sRemand f}t_JG/P Withdrawn APPLICABLE Gouna en
1st appears with or ARRAIGNMENT Ist Trial Ended 2nd Trial Began DISPOSITION DATE] SENTENCE DATE TD FINAL CHARGES DISMISSED 0" Get:
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ad EXAMINATION Scheduled PP foo eee wwe t__J CEEDING IN THIS DISTRICT
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Arrest Warrant Issued | 2/16/90 HBS/3914 O WAIVED © NOT WaIVvEDd | Tape Number
COMPLAINT P| - C1 INTERVENING INDICTMENT
Date of Arrest OFFENSE (In Complaint)
“2 -to-f)t 2-BrGh 2-222) Bayes § 220g! 9-39-90. Ieb-9z C ! 2g
\
Show last names and suffix numbers of other defendants on same indictment/information:
G See other page for defts. RULE LIU [Is LE L]
ATTORNEYS
U.S. Attorney or Asst. BAIL @ RELEASE
PRE. INDICTMENT
Mark D. McBride, AUSA. Release Date |
Defense: 1 O CJA. 2 CO Ret. 3 0 Waived. 40 Self. 5 O Non / Other. 60 Po. 70 co L_} Oanieg L_} Fugitive
- L_J Pers. Rec.
° . AMOUNT SET
E Tom Zachary At March 1996: :
iB 1300 aS niversity Drive #24851-013 sd
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